     Case 4:17-cv-01618 Document 31 Filed in TXSD on 05/17/18 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

DISH NETWORK L.L.C.,                  §
                                      §     Civil Action No. 4:17-cv-01618
                                      §
             Plaintiff,               §
      v.                              §
                                      §
SHAHJAHAN DURRANI, d/b/a ZemTV,       §
and ADAM LACKMAN, d/b/a               §
www.tvaddons.ag, www.tvaddons.org,    §
www.streamingboxes.com, and           §
www.offshoregit.com,                  §
                                      §
             Defendants.              §
                                      §
_________________________________________________________________________________

  UNOPPOSED MOTION TO WITHDRAW DEFENDANT ADAM LACKMAN’S MOTION
                   FOR A MORE DEFINITE STATEMENT [Doc. 30]
_________________________________________________________________________________

       Defendant Adam Lackman by and through undersigned counsel, respectfully requests that
this Court grant him permission to withdraw as moot Defendant’s Motion for a More Definite
Statement.
       In support of this motion, Defendant asserts the following:

   1. Defendant filed his Motion for a More Definite Statement on May 9, 2018 [Doc. 30].
   2. On May 14, 2018, Plaintiff requested Defendant withdraw his motion for a more definite
       statement under Rule 12(e) because it is untimely and barred by Rule 12(g)(2).

       WHEREFORE, Defendant asks the Court to enter an Order that withdraws his Motion for

a More Definite Statement.
Dated: May 17, 2018

                                                              Respectfully,

                                                              s/ Jason E. Sweet
                                                              _________________
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      Case 4:17-cv-01618 Document 31 Filed in TXSD on 05/17/18 Page 2 of 2




                                                               Counsel for Defendant Lackman
                                                               Pro Hac Vice Appearance

                                  CERTIFICATE OF SERVICE

       This is to certify that on May 17, 2018, this document was filed with the Court via the CM/
ECF electronic filing system, thereby serving it upon all counsel of record.
                                                               s/ Jason E. Sweet
                                                               _________________
